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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 REGINALD TURNER,

       Plaintiff,
                                               Case No. 1:20-cv-930
 v.
                                               HONORABLE PAUL L. MALONEY
 L.A. INSURANCE,

       Defendant.
 _______________________/


                                        JUDGMENT

      In accordance with the Order entered this date:

      IT IS HEREBY ORDERED that that Judgment is entered.




Dated: October 20, 2020                                   /s/ Paul L. Maloney
                                                         Paul L. Maloney
                                                         United States District Judge
